06-12984-alg        Doc 253       Filed 03/27/07 Entered 03/27/07 14:40:00                   Main Document
                                               Pg 1 of 2



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                               :
In re:                                                         :     Chapter 11
                                                               :
GRANITE BROADCASTING                                           :     Case No. 06-12984 (ALG)
CORPORATION, et al.,                                           :
                                                               :
                                             Debtors.          :     (Jointly Administered)
---------------------------------------------------------------x

           BRIDGE ORDER PURSUANT TO SECTION 1121(d) OF THE
      BANKRUPTCY CODE EXTENDING THE DEBTORS’ EXCLUSIVE PERIODS

        Upon the Debtors’ Motion for Order Pursuant to Section 1121(d) of the Bankruptcy Code

Extending the Debtors’ Exclusive Periods (the “Motion”), filed by Granite Broadcasting

Corporation (“Granite”) and certain of its direct and indirect subsidiaries (together with Granite,

the “Debtors”),1 seeking entry of an order pursuant to section 1121(d) of title 11 of the United

States Code (the “Bankruptcy Code”) extending the time period within which the Debtors have

the exclusive right to (a) propose and file a chapter 11 plan of reorganization (the “Exclusive

Filing Period”) and (b) solicit acceptances upon such a filed plan (the “Solicitation Period” and

together with the Exclusive Filing Period, the “Exclusive Periods”), all as more fully set forth in

the Motion; and the Court having jurisdiction pursuant to sections 157 and 1334 of title 28 of the

United States Code to consider the Motion and the relief requested therein; and the Debtors’

chapter 11 cases having been automatically referred to this Court by the Standing Order of the

District Court for the Southern District of New York, dated July 10, 1984 (Ward, Acting Chief

Judge); and venue being proper in this Court pursuant to sections 1408 and 1409 of title 28 of the

United States Code; and the Debtors’ having properly provided notice to (i) those parties listed


1
 The direct and indirect subsidiaries of Granite that are debtors in these cases are WXON, Inc., WXON License
Inc., KBWB, Inc., KBWB License, Inc., and WEEK-TV License, Inc.
06-12984-alg     Doc 253      Filed 03/27/07 Entered 03/27/07 14:40:00           Main Document
                                           Pg 2 of 2



on the Master Service List established in these cases; and (ii) any party who has filed a notice of

appearance in the Debtors’ chapter 11 cases who has not yet been added to the Master Service

List; and it appearing that no other or further notice need be provided; and as a hearing on the

Motion being scheduled for April 11, 2007 at 10:00 a.m.; and as the Debtors’ Exclusive Filing

Period is currently set to expire on April 10, 2007; and the Court having determined that it is

appropriate to enter a bridge order extending the Exclusive Periods until the Court makes a final

determination on the relief requested in the Motion; it is therefore

               ORDERED that, pursuant to section 1121(d) of the Bankruptcy Code, the

Debtors’ Exclusive Periods are hereby extended until such time as the Court makes a final

determination on the relief requested in the Motion.

Dated: March 27, 2007
       New York, New York

                                               /s/ Allan L. Gropper         _
                                              UNITED STATES BANKRUPTCY JUDGE
